                    UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA




CHERYL SAGATAW and
DEANTHONY BARNES, on behalf of
themselves and a class of
similarly-situated individuals,
                                                      Civil Action No.
                                                  0:24-cv-00001-ECT/TNL
                          Plaintiffs,

         vs.
                                              MOTION FOR TEMPORARY
                                               RESTRAINING ORDER
MAYOR JACOB FREY, in his
individual and official capacity,            ORAL ARGUMENT REQUESTED

                                                EXPEDITED HANDLING
                          Defendant.                REQUESTED




  1. Cheryl Sagataw and DeAnthony Barnes, on behalf of themselves and on

     behalf of those similarly situated (“Plaintiffs”), by and through their

     undersigned attorneys, hereby move this Honorable Court, pursuant to

     Federal Rule of Civil Procedure 65, for entry of a Temporary Restraining

     Order. Plaintiffs seek to enjoin Defendant Jacob Frey and his officials,

     employees, agents, assigns, and all those working in concert with Defendant

     from:



                                         1
      a. Evicting, bulldozing, clearing, sweeping, dismantling, demobilizing,

          removing infrastructure, or ceasing services to Camp Nenookaasi, the

          encampment of unhoused individuals located between 12th and 13th

          Streets and 23rd and 24th Ave, Minneapolis Minnesota.

      b. Confiscating or destroying Plaintiff’s property, including property

          shared by the Camp at the Healing Tent, Kitchen Tent, or in other

          common areas;

      c. Entering individual residences at Camp Nenookaasi or otherwise

          searching the area outside of the common spaces without proper

          search warrants or consent of the resident whose yurt or tent has been

          entered.

2. Plaintiffs incorporate herein by reference the facts alleged in the

   Memorandum in Support of the Motion for Temporary Restraining Order

   that accompanies this motion, as well as the facts alleged in their Class

   Action Complaint.

3. As the accompanying Memorandum outlines in detail, Plaintiffs have

   satisfied the four-part test and bring a matter to this Honorable Court

   warranting preliminary injunctive relief:

      a. Plaintiffs are likely to prevail on the merits of their constitutional and

          common law claims.


                                       2
         b. Plaintiffs will suffer irreparable harm, including significant risk of

            death, unless the requested injunctive relief is granted.

         c. Granting the requested relief will not result in any foreseeable, serious

            harm to Defendant or the public.

         d. Granting the requested relief is in the public interests.



WHEREFORE, Plaintiffs respectfully request that this Court issue a Temporary

Restraining Order.



                                Respectfully submitted,



Date: January 2, 2024                                ____________________
                                                     KIRA A. KELLEY
                                                     Climate Defense Project
                                                     MN Bar No. 0402932
                                                     P.O. Box 7040
                                                     Minneapolis, MN 55407
                                                     (802) 683-4086
                                                     kira@climatedefenseproject.org

                                                     Attorney for Plaintiffs




                                          3
